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                              UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF PENNSYLVANIA
                                  PITTSBURGH DIVISION


ANNA STEWART-GOWER, on behalf of
herself and all others similarly situated,        Case No.: 2:23-cv-01925-CB
               Plaintiff,                         Judge Cathy Bissoon
       v.

DOLLAR BANK, FSB dba DOLLAR BANK,

               Defendant.




       PLAINTIFF’S VOLUNTARY NOTICE OF DISMISSAL WITHOUT PREJUDICE

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff Anna Stewart-

Gower, hereby give notice that her claims in this action against Defendant Dollar Bank, FST

d/b/a Dollar Bank is voluntarily dismissed without prejudice.

Date: January 5, 2024

                                             Respectfully submitted,

                                             By: /s/Raina C. Borrelli

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                           Attorneys for Plaintiff and the Proposed Class
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                                CERTIFICATE OF SERVICE

       I, Raina C. Borrelli, hereby certify that on January 5, 2024, I electronically filed the

foregoing with the Clerk of the Court using the CM/ECF system.



       DATED this 5th day of January, 2024.

                                         TURKE & STRAUSS LLP

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